                               LOCAL BANKRUPTCY FORM 3015-1

                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                            :   CHAPTER 13
 CRAIG BRADLEY DEIMLER                             :
 WILLIAM OLIVER FISHER-DEIMLER                     :   CASE NO. 1:20-bk-00841
 aka William Oliver Fisher Deimler; fka            :
 William Oliver Fisher                             :       ORIGINAL PLAN
       Debtor(s)                                   :
                                                   :       AMENDED PLAN (indicate 1ST, 2ND,
                                                   :    3RD, etc.)
                                                   :
                                                   :       0 Number of Motions to Avoid Liens
                                                   :
                                                   :       0 Number of Motions to Value Collateral


                                         CHAPTER 13 PLAN

                                               NOTICES

Debtors must check one box on each line to state whether or not the plan includes each of the following
items. If an item is checked as “Not Included” or if both boxes are checked or if neither box is checked,
the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in             Included                 Not Included
   § 9, which are not included in the standard plan as
   approved by the U.S. Bankruptcy Court for the
   Middle District of Pennsylvania.
 2 The plan contains a limit on the amount of a secured            0 Included                Not Included
   claim, set out in § 2.E, which may result in a partial
   payment or no payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,               0 Included                Not Included
   nonpurchase-money security interest, set out in § 2.G.


                            YOUR RIGHTS WILL BE AFFECTED
 READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
timely written objection. This plan may be confirmed and become binding on you without further
notice or hearing unless a written objection is filed before the deadline stated on the Notice
issued in connection with the filing of the plan.




Case 1:20-bk-00841-HWV            Doc 21 Filed 03/12/20 Entered 03/12/20 11:20:25                    Desc
                                  Main Document    Page 1 of 7
1. PLAN FUNDING AND LENGTH OF PLAN.

   A. Plan Payments From Future Income
     1. To date, the Debtor paid $ (enter $0 if no payments have been made to the Trustee to date).
Debtor shall pay to the Trustee for the remaining term of the plan the following payments. If applicable,
in addition to monthly plan payments, Debtor shall make conduit payments through the Trustee as set
forth below. The total base plan is $12,000.00, plus other payments and property stated in § 1B below:


   Start            End            Plan Payment            Estimated             Total           Total
   mm/yy           mm/yy                                    Conduit             Payment     Payment Over
                                                           Payment                             Plan Tier
 04/2020        03/2025        $200.00                 $                                   $12,000.00
                               $                       $                                   $
                               $                       $                                   $
                               $                       $                                   $
                               $                       $                                   $
                                                                            Total Payments $12,000.00

             2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee
that a different payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in
writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-petition mortgage
payments that come due before the initiation of conduit mortgage payments.
           3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the
terms of the plan.
            4. CHECK ONE: Debtor is at or under median income. If this line is checked, the rest of §
1.A.4 need not be completed or reproduced.
                                  Debtor is over median income. Debtor calculates that a minimum of $0
must be paid to allowed unsecured creditors in order to comply with the Means Test.

   B. Additional Plan Funding From Liquidation of Assets/Other
         1. The Debtor estimates that the liquidation value of this estate is $89,269.00. (Liquidation value
is calculated as the value of all non-exempt assets after the deduction of valid liens and encumbrances
and before the deduction of Trustee fees and priority claims.)

Check one of the following two lines.
     No assets will be liquidated. If this line is checked, the rest of § 1.B need not be completed or
reproduced.

 2. SECURED CLAIMS
   A. Pre-Confirmation Distributions. Check one.
     None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

   B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct
           Payments by Debtor. Check one.
   None. If “None” is checked, the rest of § 2.B need not be completed or reproduced. \




Case 1:20-bk-00841-HWV            Doc 21 Filed 03/12/20 Entered 03/12/20 11:20:25                        Desc
                                  Main Document    Page 2 of 7
   Payments will be made by the Debtor directly to the creditor according to the original contract terms,
and without modification of those terms unless otherwise agreed to by the contracting parties. All liens
survive the plan if not avoided or paid in full under the plan.

        Name of Creditor                      Description of Collateral             Last Four Digits
                                                                                      of Account
                                                                                        Number
 ALLEGRO CREDIT                       Steinway grand piano
 COMPASS BANK                         114 Lincoln Avenue, North Versailles,
                                      PA 15137
 DAUPHIN COUNTY                       2428 Mercer Street, Harrisburg, PA
 COMMISSIONERS                        17104
 DAUPHIN COUNTY TAX                   2100 Bellevue Road, Harrisburg, PA
 CLAIM                                17104
 DISNEY VACATION CLUB                 Disney Time Share
 FORD MOTOR CREDIT CO                 2019 Ford Expedition Ltd AWD black
                                      (approx. 1,023
 M&T BANK MORTGAGE                    3205 Elmwood Drive, Harrisburg, PA
                                      17110
 M&T BANK MORTGAGE                    3205 Elmwood Drive, Harrisburg, PA
                                      17110
 MID PENN BANK                        2100 Bellevue Road, Harrisburg, PA
                                      17104
 PHFA                                 2428 Mercer Street, Harrisburg, PA
                                      17104
 VW CREDIT INC (Notices               2016 VW Jetta
 Only)

    C. Arrears (Including, but not limited to, claims secured by Debtor’s principal residence).
        Check one.
    None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

     The Trustee shall distribute to each creditor set forth below the amount of arrearages in the allowed
 proof of claim. If post-petition arrears are not itemized in an allowed claim, they shall be paid in the
 amount stated below. Unless otherwise ordered, if relief from the automatic stay is granted as to any
 collateral listed in this section, all payments to the creditor as to that collateral shall cease, and the claim
 will no longer be provided for under § 1322(b)(5) of the Bankruptcy Code:

    Name of Creditor                 Description of Collateral      Estimated Estimated                   Estimated
                                                                   Pre-petition      Post-                Total to be
                                                                   Arrears to be petition                 paid in plan
                                                                      Cured       Arrears to
                                                                                   be Cured
 ALLEGRO CREDIT              Steinway grand piano                  Per allowed                           Per allowed
                                                                   proof of claim                        proof of claim
                                                                   $ estimated
 COMPASS BANK                114 Lincoln Avenue, North Versailles, Per allowed                           Per allowed
                             PA 15137                              proof of claim                        proof of claim
                                                                   $ estimated




Case 1:20-bk-00841-HWV              Doc 21 Filed 03/12/20 Entered 03/12/20 11:20:25                         Desc
                                    Main Document    Page 3 of 7
 DAUPHIN COUNTY            2428 Mercer Street, Harrisburg, PA Per allowed                          Per allowed
 COMMISSIONERS             17104                              proof of claim                       proof of claim
                                                              $ estimated
 DAUPHIN COUNTY            2100 Bellevue Road, Harrisburg, PA Per allowed                          Per allowed
 TAX CLAIM                 17104                              proof of claim                       proof of claim
                                                              $ estimated
 DISNEY VACATION           Disney Time Share                  Per allowed                          Per allowed
 CLUB                                                         proof of claim                       proof of claim
                                                              $ estimated
 FORD MOTOR                2019 Ford Expedition Ltd AWD black Per allowed                          Per allowed
 CREDIT CO                 (approx. 1,023                     proof of claim                       proof of claim
                                                              $ estimated
 M&T BANK                  3205 Elmwood Drive, Harrisburg, PA Per allowed                          Per allowed
 MORTGAGE                  17110                              proof of claim                       proof of claim
                                                              $ estimated
 M&T BANK                  3205 Elmwood Drive, Harrisburg, PA Per allowed                          Per allowed
 MORTGAGE                  17110                              proof of claim                       proof of claim
                                                              $ estimated
 MID PENN BANK             2100 Bellevue Road, Harrisburg, PA Per allowed                          Per allowed
                           17104                              proof of claim                       proof of claim
                                                              $ estimated
 PHFA                      2428 Mercer Street, Harrisburg, PA Per allowed                          Per allowed
                           17104                              proof of claim                       proof of claim
                                                              $ estimated
  VW CREDIT INC            2016 VW Jetta                      Per allowed                          Per allowed
 (Notices Only)                                               proof of claim                       proof of claim
                                                              $ estimated


D. Other secured claims (conduit payments and claims for which a § 506 valuation is not
applicable, etc.)
   None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

E. Secured claims for which a § 506 valuation is applicable. Check one.
     None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.

F. Surrender of Collateral. Check one.
   None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

   The Debtor elects to surrender to each creditor listed below the collateral that secures the creditor’s
claim. The Debtor requests that upon confirmation of this plan or upon approval of any modified plan the
stay under 11 U.S.C. §362(a) be terminated as to the collateral only and that the stay under §1301 be
terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral
will be treated in Part 4 below.

       Name of Creditor                            Description of Collateral to be Surrendered
 DIVI RESORTS, INC                Timeshare
 TRAVEL ADVANTAGE                 Timeshare
 NETWORK




Case 1:20-bk-00841-HWV           Doc 21 Filed 03/12/20 Entered 03/12/20 11:20:25                     Desc
                                 Main Document    Page 4 of 7
G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.
    None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

 3. PRIORITY CLAIMS.
    A. Administrative Claims

      1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United
States Trustee.
      2. Attorney’s fees. Complete only one of the following options:
         a. In addition to the retainer of $0.00 already paid by the Debtor, the amount of $4,500.00 in the
plan. This represents the unpaid balance of the presumptively reasonable fee specified in L.B.R.
2016-2(c); or
         b. $___________ per hour, with the hourly rate to be adjusted in accordance with the terms of
the written fee agreement between the Debtor and the attorney. Payment of such lodestar compensation
shall require a separate fee application with the compensation approved by the Court pursuant to L.B.R.
2016-2(b).

      3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above. Check one of the
following two lines.
     None. If “None” is checked, the rest of § 3.A.3 need not be completed or reproduced.

    B. Priority Claims (including, certain Domestic Support Obligations
      Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full unless modified
    under §9.

              Name of Creditor                                      Estimated Total Payment
 NONE

    C. Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C.
    §507(a)(1)(B). Check one of the following two lines.
        If “None” is checked, the rest of § 3.C need not be completed or reproduced.

         The allowed priority claims listed below are based on a domestic support obligation that has
    been assigned to or is owed to a governmental unit and will be paid less than the full amount of the
    claim. This plan provision requires that payments in § 1.A. be for a term of 60 months (see 11 U.S.C.
    §1322(a)(4)).


          Name of Creditor                                        Estimated Total Payment
 MELISSA IRENE DEIMLER                         Claims for current spousal and child support and for
                                               arrearages will be paid outside the plan pursuant to 11
                                               U.S.C.§1322(a)(4).

4. UNSECURED CLAIMS
   A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the following
two lines.
     None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

   B.     All remaining allowed unsecured claims shall receive a pro-rata distribution of
           any funds remaining after payment of the other classes.




Case 1:20-bk-00841-HWV            Doc 21 Filed 03/12/20 Entered 03/12/20 11:20:25                      Desc
                                  Main Document    Page 5 of 7
5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.
    None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

6. VESTING OF PROPERTY OF THE ESTATE.
Property of the estate will vest in the Debtor upon
Check the applicable line:
   plan confirmation.
   entry of discharge.
   closing of case:

7. DISCHARGE: (Check one)
   The debtor will seek a discharge pursuant to § 1328(a).
   The debtor is not eligible for a discharge because the debtor has previously received a discharge
described in § 1328(f).

8. ORDER OF DISTRIBUTION:
If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to objection by the Debtor.
Payments from the plan will be made by the Trustee in the following order:
Level 1:          Adequate protection payments.
Level 2:          Debtor's attorney's fees.
Level 3:          Domestic Support Obligations.
Level 4:          Secured claims, pro rata.
Level 5:          Priority claims, pro rata.
Level 6:          Specially classified unsecured claims.
Level 7:          General unsecured claims.
Level 8:          Untimely filed unsecured claims to which the debtor has not objected.

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced.

9. NONSTANDARD PLAN PROVISIONS
Include the additional provisions below or on an attachment. Any nonstandard provision placed
elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as one document,
not as a plan and exhibit.)
        (1) Claim amounts: The amounts of the claims listed in the plan and schedules are estimated
        amounts and are not admissions by the Debtors as to the amount(s) owed.
        (2) Property surrendered under Section 2 F. shall be surrendered in full satisfaction of creditors'
        claims.
        (3) Lien Releases.
                (a) Personal Property: Upon the satisfaction, completion of cramdown payment,
        or other discharge of a security interest in a motor vehicle, mobile home, or in any other
        personal property of this estate in bankruptcy for which ownership is evidenced by a
        certificate of title, the secured party shall within thirty (30) days after the entry of the
        discharge order or demand execute a release of its security interest on the said title or
        certificate, and mail or deliver the certificate or title and release to the Debtor or to the
        attorney for the Debtor. Confirmation of this plan shall impose an affirmative and direct
        duty on each such secured party to comply with this provision.
                (b) Real Property: Upon the, completion of cramdown payment, strip off, or
        other discharge of a security interest in real property, the secured party shall within sixty
        (60) days after the entry of the discharge order file a satisfaction piece or release of its




Case 1:20-bk-00841-HWV              Doc 21 Filed 03/12/20 Entered 03/12/20 11:20:25                          Desc
                                    Main Document    Page 6 of 7
        security interest in the office of the Recorder of Deeds for the county in which the real
        estate is located. Confirmation of this plan shall impose an affirmative and direct duty on
        each such secured party to comply with this provision.
        (4) Confirmation of this Plan shall not bar the Debtor from:
                 (a) filing objections to any claims;
                 (b) amending his schedules to add a creditor who was omitted from his schedules
        and to amend this Plan to provide for the treatment of such creditor or any other creditor
        who failed to timely file a proof of claim;
                 (c) seeking to avoid a lien under Section 522 of the Code or seeking the
        determination of the extent, validity and/or priority of any liens;
                 (d) seeking a determination as to the dischargeability of any debt; or
                 (e) selling any asset of his free and clear of liens and encumbrances.
 .


                                         /s/ Dorothy L. Mott, /s/ Kara K. Gendron
                                         ______________________________
                                         Dorothy L. Mott, Kara K. Gendron
                                         Attorneys for Debtor(s)


                                         /s/ Craig Bradley Deimler
                                         Debtor


                                         /s/ William Oliver Fisher-Deimler
                                         Joint Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also
certifies that this plan contains no nonstandard provisions other than those set out in § 9




Case 1:20-bk-00841-HWV            Doc 21 Filed 03/12/20 Entered 03/12/20 11:20:25                     Desc
                                  Main Document    Page 7 of 7
